Case 8:20-cv-00043-SB-ADS Document 191-25 Filed 05/14/21 Page 1 of 14 Page ID
                                  #:3632




  Summary Judgment Ex. 25
Case 8:20-cv-00043-SB-ADS Document 191-25 Filed 05/14/21 Page 2 of 14 Page ID
                                  #:3633



1    COLIN REARDON (NY Bar #4945655)
     E-mail: colin.reardon@cfpb.gov
2    Phone: (202) 435-9668
     E. VANESSA ASSAE-BILLE (NY Bar #5165501)
3    E-mail: elisabeth.assae-bille@cfpb.gov
     Phone: (202) 435-7688
4    1700 G Street, NW
     Washington, D.C. 20552
5    Fax: (202) 435-5471
6    LEANNE E. HARTMANN (CA Bar #264787) – Local Counsel
     E-mail: leanne.hartmann@cfpb.gov
7    Phone: (415) 844-9787
     301 Howard St., Suite 1200
8    San Francisco, CA 94105
     Fax: (415) 844-9788
9
     Attorneys for Plaintiff Bureau of Consumer Financial Protection
10
                            UNITED STATES DISTRICT COURT
11                         CENTRAL DISTRICT OF CALIFORNIA
12
     Bureau of Consumer Financial Protection, )
13                                            )                  Case No.: 8-20-cv-00043-SB-ADS
                      Plaintiff,              )
14                                            )                  DECLARATION OF MANSOUR
          vs.                                 )                  HEIDARI IN SUPPORT OF
15                                            )                  PLAINTIFF’S MOTION FOR
     Chou Team Realty, LLC et al.,            )                  SUMMARY JUDGMENT AGAINST
16                                            )                  DEFENDANT NESHEIWAT
                      Defendants.             )
17                                            )
                                              )
18                                            )
19
20          I, Mansour Heidari, pursuant to 28 U.S.C. § 1746, hereby state and
21   declare that I have personal knowledge of the facts as set forth below. If called
22   as a witness, I could and would testify as follows.
23          1.       I am a citizen of the United States and am over eighteen (18) years
24   of age. I am an employee of the Bureau of Consumer Financial Protection
25   (“Bureau”). I am a forensic accountant working in the Office of Enforcement
26   within the Bureau in Washington, D.C. I am also a Certified Public Accountant
27   and Certified Fraud Examiner. As an employee with the Bureau, my current
28
     DECLARATION OF MANSOUR HEIDARI IN SUPPORT OF PLAINTIFF’S MOT. FOR SUMMARY JUDGMENT AGAINST DEF. NESHEIWAT
                                                        1
Case 8:20-cv-00043-SB-ADS Document 191-25 Filed 05/14/21 Page 3 of 14 Page ID
                                  #:3634



1    duties include conducting financial and data analysis in support of
2    investigations and to be used as evidence in litigation. I have been an employee
3    of the Bureau since November 6, 2011.
4           2.       I am assigned to work on the Bureau’s investigation and litigation
5    involving the defendants in the above captioned case.
6           3.       The Bureau brought suit against several defendants, including
7    several student loan debt relief businesses, each of which was composed of a
8    corporation and an associated limited partnership: (1) Docu Prep Center, Inc.
9    and Document Preparation Services, LP (collectively “Docu Prep Center”);
10   (2) Certified Doc Prep, Inc. and Certified Doc Prep Services, LP (collectively,
11   “Certified Doc Prep Services”); (3) Assure Direct Services, Inc. and Assure
12   Direct Services, LP (collectively, “Assure Direct Services”); (4) Direct
13   Document Solutions, Inc. and Direct Document Solutions, LP (collectively,
14   “Direct Document Solutions”); (5) Secure Preparation Services, Inc. and Secure
15   Preparation Services, LP (collectively, “Secure Preparation Services”); and (6)
16   Docs Done Right, Inc. and Docs Done Right, LP (“Docs Done Right”) .
17          4.       I refer to Docu Prep Center, Certified Doc Prep Services, Assure
18   Direct Services, Direct Document Services, and Secure Preparation Services in
19   this declaration collectively as the “SLDR Companies.”
20                                          Basis for Analysis
21          5.       The following reflects calculations that I have performed based on
22   three sources of records relating to transactions with consumers by the SLDR
23   Companies: (1) records from Account Management Systems, LLC (f/k/a
24   Reliant Account Management) (“RAM”); (2) records from Debt Pay Gateway,
25   Inc. (“Debt Pay Gateway”); and (3) records produced by Docs Done Right.
26          6.       To perform these calculations, I relied on the following documents:
27
28
     DECLARATION OF MANSOUR HEIDARI IN SUPPORT OF PLAINTIFF’S MOT. FOR SUMMARY JUDGMENT AGAINST DEF. NESHEIWAT
                                                        2
Case 8:20-cv-00043-SB-ADS Document 191-25 Filed 05/14/21 Page 4 of 14 Page ID
                                  #:3635



1               a. CFPB-JN-0108425, -027, -029 – Produced by RAM in response to
2                    Document Request Nos. 5, 6, and 7 of Plaintiff’s June 8, 2020
3                    subpoena, identifying certain information for Docu Prep Center
4                    customers who paid by ACH between June 2015 and January
5                    2016, including the customer’s name, the date on which the
6                    customer enrolled, the amount of fees the consumer paid, the
7                    amount of any refund the consumer received, the date(s) on which
8                    the customer paid fees to RAM, and the date(s) on which RAM
9                    disbursed the customer’s fees to Docu Prep Center.
10              b. CFPB-JN-0002716, -0010992, and -0086573 – Produced by Debt
11                   Pay Gateway in response to Written Report Request Nos. 1 and 2
12                   of Plaintiff’s November 21, 2017 Civil Investigative Demand,
13                   identifying certain information for customers of the SLDR
14                   Companies who paid by ACH between December 2015 and
15                   January 2018, including the customer’s name, the date on which
16                   the customer enrolled, the amount of fees the consumer paid, the
17                   amount of any refund the consumer received, the date(s) on which
18                   the customer paid fees to Debt Pay Gateway, and the date(s) on
19                   which the Debt Pay Gateway disbursed the customer’s fees to the
20                   SLDR Companies and Docs Done Right. At times in the Debt Pay
21                   Gateway records, Docu Prep Center is referred to by its d/b/a
22                   Certified Document Center.
23              c. CFPB-JN-0123127, -128, -129, -130 – Produced by Docs Done
24                   Right in response to Document Request Nos. 1 and 2 of Plaintiff’s
25                   First Request for Production of Documents, identifying certain
26                   information for customers of the SLDR Companies who paid by
27                   credit card between January 2016 and January 2018, including the
28
     DECLARATION OF MANSOUR HEIDARI IN SUPPORT OF PLAINTIFF’S MOT. FOR SUMMARY JUDGMENT AGAINST DEF. NESHEIWAT
                                                        3
Case 8:20-cv-00043-SB-ADS Document 191-25 Filed 05/14/21 Page 5 of 14 Page ID
                                  #:3636



1                    customer’s name, the date on which the customer enrolled, the
2                    amount of fees the consumer paid, the amount of any refund the
3                    consumer received, and the date(s) on which the customer paid
4                    fees.
5           7.       I performed these calculations primarily in Microsoft Excel.
6                                        Analysis re Total Fees
7           8.       The RAM records show that RAM acted as a payment processor
8    for Docu Prep Center for ACH transactions. The RAM records demonstrate
9    that, after netting out refunds, Docu Prep Center charged consumers a total of
10   $1,501,027 in fees between June 2015 and January 2016. (By netting out
11   refunds, I mean that I reduced the total amount charged by the refunds
12   purportedly sent to consumers as reflected in the RAM records.)
13          9.       When calculating the net amount that Docu Prep Center charged
14   consumers with RAM’s assistance, I used Excel to filter the data in CFPB-JN-
15   0108427. I used a field called “NAMEONACCOUNT,” which referred to the
16   name of the individual or entity whose bank account was at issue in a particular
17   transfer. I filtered to include transfers that were to or from consumers’ bank
18   accounts (and to exclude transfers that were to or from the bank accounts of
19   Docu Prep Center, RAM, and other entities). I then summed payments from
20   consumers’ accounts and subtracted refunds to consumers’ accounts, yielding
21   the net amount that Docu Prep Center charged consumers.
22          10.      The Debt Pay Gateway records show that Debt Pay Gateway acted
23   as a payment processor for the SLDR Companies for ACH transactions. The
24   Debt Pay Gateway records demonstrate that, after netting out refunds, the
25   SLDR Companies charged consumers a total of $15,447,640 in fees between
26   December 2015 and January 2018.
27
28
     DECLARATION OF MANSOUR HEIDARI IN SUPPORT OF PLAINTIFF’S MOT. FOR SUMMARY JUDGMENT AGAINST DEF. NESHEIWAT
                                                        4
Case 8:20-cv-00043-SB-ADS Document 191-25 Filed 05/14/21 Page 6 of 14 Page ID
                                  #:3637



1           11.      The Debt Pay Gateway records further show that Debt Pay
2    Gateway transferred most of those fees to the SLDR Companies, and
3    transferred the remainder to Docs Done Right. Of the net total of $15,447,640
4    in fees, Debt Pay Gateway transferred $13,413,916 to the SLDR Companies
5    and $2,033,725 to Docs Done Right.
6           12.      When calculating the net amounts that the SLDR Companies
7    charged to consumers with Debt Pay Gateway’s assistance, I used Excel to filter
8    the data in CFPB-JN-0010992. First, I filtered the data to show transfers
9    involving the bank accounts of the SLDR Companies and Docs Done Right
10   using the “name_on_account” field. Second, using definitions provided by
11   Debt Pay Gateway in CFPB-JN-0086573, I filtered the transaction type field
12   (“trans_type”) to identify (a) fees Debt Pay Gateway paid to the SLDR
13   Companies and Docs Done Right and (b) fees Debt Pay Gateway charged to the
14   SLDR Companies and Docs Done Right for consumers who were issued a
15   refund. I then summed the fees paid to SLDR Companies and Docs Done Right
16   and subtracted the fees they refunded.
17          13.      The Docs Done Right records show payments made by credit card
18   to the SLDR Companies. In total, after netting out refunds, the Student Loans
19   Debt Relief Companies received $2,751,202 in fees paid by credit card from
20   consumers between January 2016 and January 2018.
21          14.      When calculating the net amounts the SLDR Companies received
22   in credit card transactions, I used (1) CFPB-EM-0123129, which reflected
23   credit card payments, (2) CFPB-EM-0123130, which reflected refunds, and (3)
24   CFPB-EM-0123128, which reflected chargebacks. In each file, I filtered the
25   “Company” field to include only the SLDR Companies. (The data also
26   included credit card transactions for other companies.) I then summed the total
27   fees paid to the SLDR Companies and subtracted the refunds and chargebacks.
28
     DECLARATION OF MANSOUR HEIDARI IN SUPPORT OF PLAINTIFF’S MOT. FOR SUMMARY JUDGMENT AGAINST DEF. NESHEIWAT
                                                        5
Case 8:20-cv-00043-SB-ADS Document 191-25 Filed 05/14/21 Page 7 of 14 Page ID
                                  #:3638



1           15.      Using the RAM, Debt Pay Gateway, and Docs Done Right records,
2    I have calculated that, after netting out refunds, the SLDR Companies
3    collectively charged consumers a total of $19,699,870 in fees (i.e., $1,501,027
4    through ACH transactions processed by RAM; $15,447,640 through ACH
5    transactions processed by Debt Pay Gateway; and $2,751,202 through credit
6    card transactions reflected in the Docs Done Right records).
7           16.      Using the RAM, Debt Pay Gateway, and Docs Done Right records,
8    I have further calculated that, after netting out refunds, the SLDR Companies
9    each charged consumers the following amounts:
10                   a.      Docu Prep Center – $8,739,347
11                   b.      Certified Doc Prep Services – $3,806,626
12                   c.      Assure Direct Services – $3,404,455
13                   d.      Direct Document Solutions – $1,902,259
14                   e.      Secure Preparation Services – $1,847,182
15          17.      I created a true and correct summary regarding the total fees
16   reflected in the RAM, Debt Pay Gateway, and Docs Done Right records that I
17   reviewed, which is attached as Exhibit 1. In addition, I created a true and
18   correct summary with additional information regarding the total fees reflected
19   in the Debt Pay Gateway records that I reviewed, which is attached as Exhibit
20   2.
21                                     Analysis re Advance Fees
22          18.      I have also analyzed the RAM, Debt Pay Gateway, and Docs Done
23   Right records to calculate (1) how many days after a consumer enrolled the
24   SLDR Companies charged their fees and (2) the total fees that the SLDR
25   Companies charged within 90 days of a consumer’s enrollment. In addition, I
26   have analyzed the RAM and Debt Pay Gateway records to calculate (3) how
27   many days after consumers enrolled RAM and Debt Pay Gateway disbursed
28
     DECLARATION OF MANSOUR HEIDARI IN SUPPORT OF PLAINTIFF’S MOT. FOR SUMMARY JUDGMENT AGAINST DEF. NESHEIWAT
                                                        6
Case 8:20-cv-00043-SB-ADS Document 191-25 Filed 05/14/21 Page 8 of 14 Page ID
                                  #:3639



1    consumers’ fees to the SLDR Companies’ bank accounts, and (4) the total fees
2    disbursed to the SLDR Companies within 90 days of a consumer’s enrollment.
3           19.      The RAM, Debt Pay Gateway, and Docs Done Right records
4    include fields that show consumers’ enrollment dates, and the dates when
5    consumers made payments. The RAM and Debt Pay Gateway records also
6    include fields showing dates when consumers’ payments were disbursed to the
7    SLDR Companies. The RAM records include an enrollment date field
8    (“ENROLLDATE”), a field showing the type of funds transfer
9    (“DESCRIPTION”), and a field showing when consumers’ bank accounts were
10   charged and when consumers’ payments were disbursed to Docu Prep Center
11   (“TRANSACTIONDATE”). The Debt Pay Gateway records contain an
12   enrollment date field (“enrolled_date”), a field showing the type of funds
13   transfer (“trans_type”), and a field showing when consumers’ bank accounts
14   were charged and when consumers’ payments were disbursed to the SLDR
15   Companies and Docs Done Right (“process date”). The Debt Pay Pro records
16   contain an enrollment date field (“Enrolled Date”) and a field showing when
17   consumers’ credit cards were charged (“Process Date”). The RAM, Debt Pay
18   Gateway, and Docs Done Right records also contain unique identification
19   numbers for each consumer.
20          20.      The RAM, Debt Pay Gateway, and Docs Done Right records did
21   not contain fields indicating when consumers’ applications for loan
22   consolidations and repayments plans were approved or when consumers made
23   their first payment under the altered terms of their student loans.
24          21.      The RAM, Debt Pay Gateway, and Docs Done Right records show
25   that some consumers were charged their entire fee in a single lump sum, while
26   others were charged in multiple installments.
27
28
     DECLARATION OF MANSOUR HEIDARI IN SUPPORT OF PLAINTIFF’S MOT. FOR SUMMARY JUDGMENT AGAINST DEF. NESHEIWAT
                                                        7
Case 8:20-cv-00043-SB-ADS Document 191-25 Filed 05/14/21 Page 9 of 14 Page ID
                                  #:3640



1           22.      By comparing the date fields in the RAM records, I calculated the
2    number of days between a consumer’s enrollment date and when the
3    consumer’s bank account was charged. For example, if a consumer enrolled on
4    June 3, 2015 and the consumer’s bank account was charged on June 11, 2015,
5    the number of days between the consumer’s enrollment and the consumer’s
6    payment was 8 days. After calculating the number of days between each
7    consumer’s enrollment and their payments, I calculated an average for how
8    long after enrollment consumers made their payments. The records show that,
9    on average, consumers made their first payment 9 days after they enrolled and
10   their final payment 28 days after they enrolled.
11          23.      Further, by sorting consumers’ payments in the RAM records
12   based on the number of days between the consumer’s enrollment and the
13   consumer’s payment, I identified fees consumers paid within 90 days of their
14   enrollment. I then calculated the total amount of fees paid within 90 days by
15   adding all of those fees together. I then netted out refunds (both refunds
16   provided before and after 90 days of the consumer’s enrollment). The RAM
17   records show that, after netting out refunds, consumers paid a total of
18   $1,475,551 in fees within 90 days of their enrollment.
19          24.      The RAM records show that consumers’ fee payments were
20   temporarily held by RAM before being disbursed to Docu Prep Center. By
21   comparing the date fields in the RAM records, I calculated the number of days
22   between a consumer’s enrollment date and when the consumer’s payments were
23   disbursed to Docu Prep Center. The records show that, on average, RAM made
24   its first disbursement to Docu Prep Center 16 days after the consumer enrolled
25   and made its final disbursement 37 days after the consumer enrolled.
26          25.      Further, by sorting consumers’ payments in the RAM records
27   based on the number of days between the consumer’s enrollment and the
28
     DECLARATION OF MANSOUR HEIDARI IN SUPPORT OF PLAINTIFF’S MOT. FOR SUMMARY JUDGMENT AGAINST DEF. NESHEIWAT
                                                        8
Case 8:20-cv-00043-SB-ADS Document 191-25 Filed 05/14/21 Page 10 of 14 Page ID
                                   #:3641



1    disbursement of consumers’ payments to Docu Prep Center, I identified fees
2    disbursed to Docu Prep Center within 90 days of consumers’ enrollment. I then
3    calculated the total amount of fees disbursed within 90 days by adding all of
4    those fees together. I then netted out refunds (both refunds provided before and
5    after 90 days of the consumer’s enrollment). The RAM records show that, after
6    netting out refunds, a total of $1,205,045 in fees was disbursed to Docu Prep
7    Center within 90 days of consumers’ enrollment.
8           26.      Similarly, by comparing the date fields in the Debt Pay Gateway
9    records, I calculated the number of days between a consumer’s enrollment and
10   when the consumer’s bank account was charged. When making this
11   calculation, I excluded a small number of transactions that appeared to involve
12   data entry errors (e.g., the consumer’s payment date was before the consumer’s
13   enrollment date). I also excluded transactions of less than $30, which in the
14   data are associated with a business called Select Student Services. After
15   calculating the number of days between each consumer’s enrollment and their
16   payments, I calculated an average for how long after enrollment consumers
17   made their payments. The records show that, on average, consumers made their
18   first payment 15 days after they enrolled and their final payment 51 days after
19   they enrolled.
20          27.      Further, by sorting consumers’ payments in the Debt Pay Gateway
21   records based on the number of days between the consumer’s enrollment and
22   the consumer’s payment, I identified fees consumers paid within 90 days of
23   their enrollment. I then calculated the total amount of fees paid within 90 days
24   by adding all of those fees together. I then netted out refunds (both refunds
25   provided before and after 90 days of the consumer’s enrollment). The Debt Pay
26   Gateway records show that, after netting out refunds, consumers paid a total of
27   $13,814,209 in fees within 90 days of their enrollment.
28
     DECLARATION OF MANSOUR HEIDARI IN SUPPORT OF PLAINTIFF’S MOT. FOR SUMMARY JUDGMENT AGAINST DEF. NESHEIWAT
                                                        9
Case 8:20-cv-00043-SB-ADS Document 191-25 Filed 05/14/21 Page 11 of 14 Page ID
                                   #:3642



1           28.      The Debt Pay Gateway records show that consumers’ fee
2    payments were temporarily held by Debt Pay Gateway before being disbursed
3    to the SLDR Companies and Docs Done Right. By comparing the date fields in
4    the Debt Pay Gateway records, I calculated the number of days between a
5    consumer’s enrollment date and when the consumer’s payments were disbursed
6    to the SLDR Companies. The records show that, on average, Debt Pay
7    Gateway made its first disbursement to the SLDR Companies 22 days after the
8    consumer enrolled and made its final disbursement 59 days after the consumer
9    enrolled.
10          29.      Further, by sorting consumers’ payments in the Debt Pay Gateway
11   records based on the number of days between the consumer’s enrollment and
12   the disbursement of consumers’ payments to the SLDR Companies and Docs
13   Done Right, I identified fees disbursed to the SLDR Companies and Docs Done
14   Right within 90 days of consumers’ enrollment. I then calculated the total
15   amount of fees disbursed within 90 days by adding all of those fees together. I
16   then netted out refunds (both refunds provided before and after 90 days of the
17   consumer’s enrollment). The Debt Pay Gateway records show that, after
18   netting out refunds, a total of 13,761,706 in fees was disbursed to the SLDR
19   Companies and Docs Done Right within 90 days of consumers’ enrollment.
20          30.      I calculated the number of days between a consumer’s enrollment
21   and when the consumer’s credit card was charged by comparing the date fields
22   in the Docs Done Right credit card records. In making this calculation, I
23   excluded a small number of transactions that appeared to involve data entry
24   errors (e.g., the consumer’s payment date was before the consumer’s enrollment
25   date). After calculating the number of days between each consumer’s
26   enrollment and their payments, I calculated an average for how long after
27   enrollment consumers made their payments. The records show that, on
28
     DECLARATION OF MANSOUR HEIDARI IN SUPPORT OF PLAINTIFF’S MOT. FOR SUMMARY JUDGMENT AGAINST DEF. NESHEIWAT
                                                       10
Case 8:20-cv-00043-SB-ADS Document 191-25 Filed 05/14/21 Page 12 of 14 Page ID
                                   #:3643



1    average, consumers made their first credit card payment 13 days after they
2    enrolled and their final payment 20 days after they enrolled.
3           31.      I identified fees consumers paid within 90 days of their enrollment
4    by sorting consumers’ payments in the Docs Done Right records based on the
5    number of days between the consumer’s enrollment and the consumer’s credit
6    card payment. I then calculated the total amount of fees paid within 90 days by
7    adding all of those fees together. I then netted out refunds (both refunds
8    provided before and after 90 days of the consumer’s enrollment). The Docs
9    Done Right records show that, after netting out refunds, consumers paid a total
10   of $2,758,468 in fees via credit card within 90 days of their enrollment.
11          32.      Using the RAM, Debt Pay Gateway, and Docs Done Right records,
12   I have calculated that, after netting out refunds, the SLDR Companies
13   collectively charged consumers a total of $18,048,228 in fees within 90 days of
14   consumers’ enrollment (i.e., $1,475,551 through ACH transactions processed
15   by RAM; $13,814,209 through ACH transactions processed by Debt Pay
16   Gateway; and $2,758,468 through credit card transactions reflected in the Docs
17   Done Right records).
18          33.      Using the RAM, Debt Pay Gateway, and Docs Done Right records,
19   I have further calculated that, after netting out refunds, the SLDR Companies
20   each charged consumers the following amounts within 90 days of consumers’
21   enrollment:
22                   a.      Docu Prep Center – $8,194,173
23                   b.      Certified Doc Prep Services – $3,494,744
24                   c.      Assure Direct Services – $3,017,113
25                   d.      Direct Document Solutions – $1,714,168
26                   e.      Secure Preparation Services – $1,628,030
27
28
     DECLARATION OF MANSOUR HEIDARI IN SUPPORT OF PLAINTIFF’S MOT. FOR SUMMARY JUDGMENT AGAINST DEF. NESHEIWAT
                                                       11
Case 8:20-cv-00043-SB-ADS Document 191-25 Filed 05/14/21 Page 13 of 14 Page ID
                                   #:3644



1           34.      Using the RAM, Debt Pay Gateway, and Docs Done Right records,
2    I have further calculated that, after excluding consumers who received full
3    refunds, the SLDR Companies each charged the following number of
4    consumers all or part of their fee within 90 days of the consumer’s enrollment:
5                    a.      Docu Prep Center –10,701 consumers
6                    b.      Certified Doc Prep Services – 4,333 consumers
7                    c.      Assure Direct Services – 3,822 consumers
8                    d.      Direct Document Solutions – 2,131 consumers
9                    e.      Secure Preparation Services – 2,134 consumers
10          35.      I created a true and correct summary regarding the total fees that
11   the SLDR Companies charged within 90 days of a consumer’s enrollment and
12   the total number of consumers the SLDR Companies charged within 90 days,
13   which is attached as Exhibit 3.
14                                 Analysis re Enrollment Ranges
15          36.      I have also analyzed the RAM and Debt Pay Gateway records to
16   identify the date ranges within which each of the SLDR Companies enrolled
17   consumers using the enrollment date fields discussed above in Paragraph 19.
18          37.      The RAM and Debt Pay Gateway records show that the SLDR
19   Companies enrolled consumers during at least the following date ranges:
20                   a.      Docu Prep Center – June 3, 2015 to April 17, 2017
21                   b.      Certified Doc Prep Services – January 4, 2016 to March 31,
22                   2017
23                   c.      Assure Direct Services – August 9, 2016 to September 22,
24                   2017
25                   d.      Direct Document Solutions – April 17, 2017 to September
26                   22, 2017
27
28
     DECLARATION OF MANSOUR HEIDARI IN SUPPORT OF PLAINTIFF’S MOT. FOR SUMMARY JUDGMENT AGAINST DEF. NESHEIWAT
                                                       12
Case 8:20-cv-00043-SB-ADS Document 191-25 Filed 05/14/21 Page 14 of 14 Page ID
                                   #:3645
